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1    Tina Wolfson (SBN 174806)
     Robert Ahdoot (SBN 172098)
2    AHDOOT & WOLFSON, PC
     2600 West Olive Avenue, Suite 500
3    Burbank, CA 91505
     Telephone: (310) 474-9111
4    Facsimile: (310) 474-8585
     twolfson@ahdootwolfson.com
5    rahdoot@ahdootwolfson.com
6    Peter A. Muhic (pro hac vice to be filed)
     LeVAN MUHIC STAPLETON LLC
7    One Liberty Place
     1650 Market Street, Suite 3600
8    Philadelphia, PA 19103
     Telephone: (215) 561-1500
9    pmuhic@levanmuhic.com
10   Counsel for Plaintiffs and the Class
11   [Additional counsel appear on signature page]
12
                                  UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
     SOL KIM, AARON MANDELL, ALISSA                  Case No.
15   BETH COHEN MANDELL, MATTIAS
     ASTROM, ARPAN PATEL, ANUPAMA                    CLASS ACTION COMPLAINT
16   VIVEK, JERIN ZACHARIAH, and PETER
     BURNS, on behalf of themselves and all others
17   similarly situated,                             JURY TRIAL DEMANDED
18                              Plaintiffs,
19   v.
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21   TESLA, INC.,
22                               Defendant.
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1           Plaintiffs, Sol Kim, Aaron Mandell, Alissa Beth Cohen Mandell, Mattias Astrom, Arpan
2    Patel, Anupama Vivek, Jerin Zachariah and Peter Burns (“Plaintiffs”), by and through their attorneys,
3    on behalf of themselves and all others similarly situated, based upon personal knowledge with respect

4    to their own circumstances and based upon information and belief and/or the investigation of their
5    counsel as to all other allegations, allege the following against defendant Tesla, Inc. (“Defendant”
6    or “Tesla”):
7                                          INTRODUCTION
8           1.      Tesla sold Plaintiffs and other Class members high-priced Tesla Solar Roof systems.
9    After completing the sales agreements, and while the consumers have been making plans for the
10   installations, in classic bait-and-switch fashion, Tesla is now informing these consumers they must
11   pay upwards of a 50% price hike on the cost of the Solar Roof if they want to proceed with the
12   installation—and if they do not pay promptly, they risk losing their place in line for installation. This
13   is nothing short of a deceptive and unfair scheme.
14          2.      Plaintiffs bring this action to stop Tesla from unfairly and unlawfully representing to
15   consumers nationwide that they have no choice but to cancel their valid contracts for Tesla Solar
16   Roof systems or else agree to Tesla’s after-the-fact substantial and unilateral price increases.

17          3.      Plaintiffs also seek to hold Tesla accountable for its deceptive, unlawful, and unjust
18   business practices in luring consumers into signing contracts for its Solar Roof system for agreed-
19   upon prices and agreed-upon delivery dates, and then unilaterally switching the terms of the deal,
20   imposing substantial price increases, refusing to perform as promised, and deceiving consumers into
21   cancelling their valid contracts and/or accepting Tesla’s significantly increased prices.
22          4.      While known best for its electric cars, Tesla entered the market for solar panels with
23   its 2016 acquisition of SolarCity for $2.6 billion. SolarCity was founded by two cousins of Tesla
24   CEO Elon Musk, and Musk served as chairman of SolarCity’s board and was the company’s largest
25   shareholder.
26          5.      Soon after announcing the acquisition, Tesla revealed a new product from SolarCity:
27   the Solar Roof. The Solar Roof consists of roof tiles—which resemble ordinary roof shingles, unlike

28   traditional solar panels that sit on top of the roof—with embedded photovoltaic (PV) cells capable of
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 1   generating electricity from the sun. The Solar Roof system can also include a “Powerwall,” which
 2   allows a homeowner to store energy generated by the Solar Roof for use when needed, such as during
 3   a utility power outage.

 4           6.      Tesla has aggressively marketed the Solar Roof system and promoted the attributes
 5   and benefits of the Solar Roof system to Plaintiffs and all consumers across the country. Musk has
 6   touted the product as “[a] roof that looks better than normal roofs, generates electricity longer, lasts
 7   longer, has better insulation, and has an installed cost that is less than a normal roof plus the cost of
 8   electricity.”
 9           7.      After acquiring SolarCity, however, Tesla has struggled with its solar operations.
10   While the Solar Roof was originally scheduled to launch in 2017, design issues delayed its release
11   until 2018. Tesla also encountered various difficulties with its own processes along with the
12   technology. As Musk later admitted, with the first two versions of the Solar Roof, Tesla was “still
13   sort of figuring things out” as it went along.
14           8.      In late 2019, Tesla released Version 3 of the Solar Roof. With this version, Tesla
15   promised several improvements over the previous two versions, including faster installation times
16   and lower costs. The Solar Roof, according to Musk, “is finally ready for the big time,” and “this

17   product is going to be incredible.” In short, Musk bragged, Version 3 “is a killer product.”
18           9.      Plaintiffs all agreed to purchase a Solar Roof from Tesla and have been awaiting
19   installation. In doing so, Plaintiffs submitted their orders, paid deposits, agreed to a total project cost
20   based on the specific characteristics of their roofs, and executed contracts with Tesla.
21           10.     Plaintiffs also took additional steps as necessary to prepare for the Solar Roof
22   installations, including preparing their properties by removing trees, upgrading necessary
23   components for installation, overseeing and/or applying for permits, and arranging for payment
24   whether through financing or converting investments to cash.
25           11.     In early April 2021, however, Tesla disavowed its contracts with Plaintiffs and the
26   putative class members nationwide, unilaterally (and substantially) increased the previously agreed-
27   upon prices, and represented that it would not proceed as promised. In many instances, Tesla

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 1   increased the price of components by 50% or more, which equates to thousands or tens of thousands
 2   of dollars per consumer.
 3           12.      And even though Plaintiffs and many putative class members have been waiting for

 4   many months or longer and were expecting installation to begin soon, Tesla instructed that if they
 5   want to “keep their place in line” for installation, they must execute new contracts promptly. That is
 6   because, Tesla told them, the company will install Solar Roofs on a first-come, first-served basis
 7   going forward.
 8           13.      Tesla’s actions are unlawful, unjust and deceptive and should not be permitted to
 9   stand. Tesla is reneging on its promises and obligations to Plaintiffs and the putative class members
10   and systematically breaching its contracts with them.
11           14.      Tesla claims that the price increases are due to the “complexity” of Plaintiffs’ roofs.
12   This itself is a misrepresentation. Nothing has changed with Plaintiffs’ roofs since the time Tesla
13   completed its inspections, surveys and/or analyses that resulted in the agreed-to contract prices. In
14   reality, Tesla simply implemented a company-wide update to its pricing structure to increase its
15   profits. Tesla now is unfairly coercing Plaintiffs and the putative class members to pay significantly
16   more than they had bargained for with Tesla.

17           15.      Tesla’s conduct—which emanates from its California headquarters—violates
18   California’s consumer protection laws and affects consumers nationwide. Plaintiffs and the putative
19   class members have, and will, incur substantial economic harm and further harm because of Tesla’s
20   conduct. Many Plaintiffs and consumers across the country were days or weeks from installation
21   and now are left to either agree to Tesla’s price hikes under duress or be forced to scramble for some
22   type of alterative.
23           16.      Plaintiffs and the putative class members ask that Tesla be enjoined from engaging in
24   its unfair and unlawful conduct and/or be ordered to make restitution and be subject to other equitable
25   measures appropriate.
26                                                  PARTIES
27           17.      Plaintiff Sol Kim is an adult individual and at all times relevant has been a citizen and

28   resident of California.
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 1            18.   Plaintiffs Aaron Mandell and Alissa Beth Cohen Mandell are adult individuals and at
 2   all times relevant citizens and residents of Florida.
 3            19.   Plaintiff Mattias Astrom is an adult individual and at all times relevant has been a

 4   citizen and resident of Massachusetts.
 5            20.   Plaintiff Arpan Patel is an adult individual and at all times relevant has been a citizen
 6   and resident of New Jersey.
 7            21.   Plaintiff Anupama Vivek is an adult individual and at all times relevant has been a
 8   citizen and resident of New York.
 9            22.   Plaintiff Jerin Zachariah is an adult individual and at all times relevant has been a
10   citizen and resident of New York.
11            23.   Plaintiff Peter Burns is an adult individual and at all times relevant has been a citizen
12   and resident of Pennsylvania.
13            24.   Defendant, Tesla, Inc., is a California corporation with its headquarters and principal
14   place of business located at 3500 Deer Creek Road, Palo Alto, CA.
15            25.   At all relevant times, Defendant acted through its authorized employees and agents in
16   marketing, selling and installing Solar Roof and energy storage systems and communicating with

17   Plaintiffs and the putative class members about the Solar Roof systems.
18                                     JURISDICTION AND VENUE
19            26.   This Court has original diversity jurisdiction, pursuant to the Class Action Fairness
20   Act, 28 U.S.C. § 1332(d)(2) (“CAFA”) because one or more members of the proposed Class are
21   citizens of states different from Defendant’s home state, the aggregate amount in controversy exceeds
22   $5,000,000, exclusive of interest and costs, and there are more than 100 members in the proposed
23   Class.
24            27.   This Court has personal jurisdiction over Plaintiffs because Plaintiff Kim is a citizen
25   and resident of California and all Plaintiffs submit to the Court’s jurisdiction.
26            28.   This Court has both general and specific personal jurisdiction over Defendant because
27   Tesla has its principal place of business and headquarters in California and operates and conducts

28   substantial business throughout California.
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 1          29.     Venue is proper in this District, under 28 U.S.C. § 1391(b) because a substantial part
 2   of the events giving rise to Plaintiffs’ claims occurred in this District, Defendant’s decision-makers
 3   are based in this District, and because Defendant resides in this District under 28 U.S.C. § 1391(c)(2).

 4                                                  FACTS
 5   Tesla’s Solar Roof Product
 6          30.     Tesla promotes its Solar Roof system as a product of the future offering numerous
 7   benefits to consumers.
 8          31.     Tesla, for example, touts the Solar Roof’s beautiful design. Unlike traditional solar
 9   panels, which sit on top of the roof, the Solar Roof replaces the existing roof with its roof tiles. Tesla
10   highlights this aesthetic benefit on its website with a picture (see Figure 1) and a promise: “Replace
11   your current roof with Solar Roof and power your home with a fully integrated solar system. With a
12   seamless design, each tile looks great up-close or from the street, complementing your home’s
13   architecture.” As Musk put it, “When you have [the Solar Roof] installed on your house, you’ll have
14   the best roof in the neighborhood. The aesthetics are that good.”
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     Figure 1
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24          32.     Tesla also represents that the Solar Roof is affordable and actually cheaper than
25   buying electricity from the power grid. On its website, Tesla tells consumers: “Power your home at
26   the lowest price per watt of any national provider and take control of your monthly electric bill.”
27          33.     Tesla also promises that the Solar Roof is more durable than a standard roofing tile.
28   As Tesla explains on its website, “Solar Roof tiles are more than three times stronger than standard
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 1   roofing tiles and are engineered for all-weather protection. With a 25-year warranty, Solar Roof lasts
 2   longer than an average roof and protects your home for decades to come.”
 3             34.   Tesla also markets the Solar Roof as being environmentally friendly. Tesla tells

 4   consumers they can reduce their carbon footprint with the Solar Roof: “By switching to solar, you
 5   will be reducing your carbon emissions and environmental impact of energy use.”
 6             35.   In summary, Musk has stated: “It’s looking quite promising that a solar roof will
 7   actually cost less than a normal roof before you even take the value of electricity into account. So the
 8   basic proposition would be, ‘Would you like a roof that looks better than a normal roof, lasts twice
 9   as long, costs less and by the way generates electricity?’ It’s like, why would you get anything else?”
10             36.   With this marketing, which is uniform and extends nationwide, Tesla has drawn
11   strong interest in its Solar Roof from consumers, including from Plaintiffs, who all signed contracts
12   and have been waiting for installation of their Solar Roof systems because of these features and
13   others.
14   The Solar Roof Purchasing Process
15             37.   Plaintiffs all entered contracts with Tesla for the purchase of a Solar Roof. For many
16   Plaintiffs, and consumers nationwide, this was a months-long process.

17             38.   Tesla attempts to break the ultimate contracting process down into several steps. First,
18   on Tesla’s website, consumers give Tesla their address and current electricity usage. Based on this
19   information, Tesla calculates the measurements of the consumer’s roof and provides a suggested size
20   based on the consumer’s electricity consumption and roof size. Tesla then gives the consumer an
21   estimated price based on these initial measurements and offers the consumer the option to pre-order
22   by paying a deposit.
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 1          39.     Second, Tesla identifies any anomalies or unique shapes in the consumer’s roof and
 2   recommends an appropriate size of the solar array on the roof. In many instances, Tesla had field
 3   representatives visit Plaintiffs’ and other consumers’ homes; and otherwise, or in conjunction with

 4   that, Tesla uses a high-tech approach and utilizes aerial imagery and 3D modeling to determine the
 5   consumer’s “custom design.” See Figure 2.
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     Figure 2
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20          40.     A Tesla representative may then conduct an in-person inspection of the consumer’s

21   roof “to confirm no additional roof or site repairs are required.” The consumers reasonably and

22   understandably rely on Tesla’s assurances that it has performed its due diligence in setting pricing.

23          41.     Third, the consumer executes a contract, which is the purchase agreement for the Solar

24   Roof. This contract includes the Solar Roof system specifications and the agreed-to price based on

25   those specifications. Because consumers enter this purchase agreement after undergoing Tesla’s

26   extensive review phase, they reasonably rely on the contract price to be the final price for the project.

27   The only price changes from that point forward would be for mutually agreed-to change orders, or

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 1   legitimately “unforeseen” circumstances provided for, such as when the existing roof is removed and
 2   it is determined that the underlying sheathing needs to repaired or replaced.
 3          42.     Upon information and belief, Tesla knowingly marketed, advertised, and promised to

 4   provide and install its Solar Roof systems at prices that the company knew it would not honor and
 5   on delivery dates the company knew it could not meet.
 6   Tesla’s Price Increase on the Solar Roof
 7          43.     In early April 2021, after Plaintiffs and the putative class members had executed their
 8   purchase agreements, Tesla sent them a form email stating that the company was increasing the
 9   agreed-upon contractual prices for their Solar Roof systems because of “individual roof complexity.”
10   Tesla told Plaintiffs and the putative class members that they needed to go to their online accounts
11   and accept the change before Tesla would move forward with their Solar Roof systems.
12          44.     Tesla is sending frequent notifications to Plaintiffs and the Class as below:
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            45.     Tesla also unfairly, unlawfully and deceptively tries to coerce and induce existing
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     customers to agree to Tesla’s unilateral price increase by advising the consumers—notwithstanding
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     that many have been waiting months or longer for installation—that Tesla now “will be prioritizing
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     customers based on the order in which they accept their updated agreements.”
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 1           46.     Tesla is also deceiving and misleading the Plaintiffs and the public by making it
 2   appear that it always had a pricing provision on its website and their online accounts for different
 3   roof “complexity” but in reality, Tesla recently revised its website to include such a provision.

 4           47.     Plaintiffs and the putative class members agreed to contracts long ago and were
 5   promised installation was being scheduled. For Tesla to now not only demand significantly increased
 6   payments but to also be re-scheduling installations based on the date when people agree to its
 7   demands is an unfair, unlawful, and deceitful business practice which should be halted immediately.
 8           48.     According to a Tesla Project Advisor, the price increase was part of a “companywide
 9   update to the pricing structure” rather than being specific to an individual.
10           49.     This update to previously agreed-to pricing occurred in the same month that Tesla
11   announced record profits and it was revealed that an additional $32 billion in Tesla stock options had
12   vested with Musk.
13           50.     During an April 2021 earning call, Musk made clear that Tesla placed the importance
14   of additional profits over the sanctity of its contracts or its relationships with its customers and offered
15   only that Tesla had “made some significant mistakes in assessing the difficulty of certain roofs” and
16   would not risk losing money by honoring its contracts.

17           51.     Nothing changed to Plaintiffs’ roofs from the time they entered their purchase
18   agreements that would justify Tesla’s price increases and refusal to perform as agreed.
19           52.     Plaintiffs should not be forced to pay more than they bargained for, nor should they
20   face further installation delays if they do not promptly agree to the price increases. Plaintiffs fell
21   victim to Tesla’s bait and switch. Plaintiffs reasonably relied on Tesla’s representations as to the
22   products it would provide, the price it would charge based on its assessment of their properties, and
23   the dates when the installations would occur.
24           53.     Plaintiffs and consumers nationwide have suffered economic injuries due to Tesla’s
25   unfair, unlawful and deceptive conduct and will continue to incur additional harm. Among other
26   things, Plaintiffs have lost the use of their monetary deposits while waiting for Tesla to perform;
27   Plaintiffs forfeited the chance to explore other roofing or solar options for many months—and even

28   longer—due to their reasonable expectation that Tesla would perform as promised; certain Plaintiffs
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 1   have incurred financing-related and transactional expenses; and, in addition to being deprived of a
 2   new physical roof, Plaintiffs also are being deprived of the ability to generate and store their own
 3   power for their homes and/or vehicles with the Solar Roof system.

 4            Plaintiff Sol Kim
 5            54.     After many months of planning and discussions with Plaintiff and Tesla, on February
 6   14, 2021, Plaintiff Kim executed a contract with Tesla for the purchase and installation of a solar
 7   roof system for his home in Fullerton, California. The agreed-to price was $39,658.44.
 8            55.     Plaintiff Kim’s online account confirmed “Agreement Completed” on February 14,
 9   2021.
10            56.     Plaintiff Kim refinanced his mortgage to utilize equity from his home to pay for the
11   purchase.
12            57.     On or about April 10, 2021, Tesla emailed Plaintiff to advise that it was increasing his
13   pricing. Even after including a “free” powerwall, Tesla now demands $52,337.30, which is a more
14   than 30% increase.
15            58.     Tesla is repeatedly sending Plaintiff Kim emails to prompt him to accept the new
16   pricing or cancel his contract.

17            59.     Given the fact that Plaintiff already has a binding agreement for his project, it is unfair,
18   deceptive and misleading for Tesla to represent that Plaintiff Kim needs to click on his account and
19   accept Tesla’s price increase in order to move ahead with the project.
20            60.     In an email dated April 13, 2021, Tesla’s Project Advisor for Plaintiff’s Kim’s account
21   advised Plaintiff that the price increase “was a company wide update to the pricing structure and did
22   not only apply to your project.”
23            61.     Plaintiff has suffered economic harm as a result of Tesla’s conduct and will continue
24   to incur harm.
25            Aaron and Alissa Beth Cohen Mandell (“Plaintiff Mandell”)
26            62.     After more than eight months of planning and discussions, on March 16, 2021,
27   Plaintiff Mandell executed a contract with Tesla for the purchase and installation of a solar roof

28   system for their home in Sarasota, Florida.
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 1          63.       After Tesla inspected the home and finalized the design, the final agreed-to price after
 2   some adjustments was $64,424.31.
 3          64.       Plaintiff Mandell took out a personal loan after executing the contract in order to

 4   finance the purchase price. Plaintiff is incurring interest expenses on that loan.
 5          65.       Plaintiff expended efforts to obtain permits for the project.
 6          66.       On or about April 10, 2021, Tesla emailed Plaintiff to advise that it was increasing
 7   the pricing and modifying the design, which requires a new permit. Even after including a “free”
 8   powerwall, Tesla now demands $85,859.24 for the project, which is a more than 30% increase.
 9          67.       Plaintiff has suffered economic harm as a result of Tesla’s conduct and will continue
10   to incur harm.
11          Plaintiff Mattias Astrom
12          68.       Plaintiff first placed an order for a Solar Roof system back in 2017 for his home in
13   Lexington, MA. At that time, he paid a $1,000 deposit and ordered a system with a 42.27 kw
14   capacity, but after waiting more than three years for Tesla to perform, he cancelled that order in
15   December 2020. Plaintiff still awaits return of that deposit.
16          69.       On January 10, 2021, Plaintiff placed a new order for a Solar Roof system with 9

17   powerwalls but Tesla advised the capacity could be only 12.51 kw. Plaintiff paid a $100 deposit and
18   executed the contract. The agreed-to price was $150,013.
19          70.       On April 10, 2021, Tesla emailed Plaintiff to advise that due to roof “complexity” the
20   price of his project was increasing. Instead of the agreed-upon price of $150,013, Tesla advised that
21   it was unilaterally increasing the price to $228,008, which is a more than 50% increase.
22          71.       That price increase includes one “free” powerwall.
23          72.       Tesla is sending repeated emails to Plaintiff and has encouraged him to accept the
24   price increase or cancel his order.
25          73.       Plaintiff has suffered economic harm as a result of Tesla’s conduct and will continue
26   to incur harm.
27          Plaintiff Arpan Patel

28          74.       Plaintiff Patel is having a new home constructed in Randolph, New Jersey.
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 1          75.       After many months of dealing with Tesla, and delays since November 2020, Tesla
 2   finally prepared a contract for the purchase and installation of a solar roof energy system for the
 3   home. Plaintiff Patel executed the contract on March 2, 2021.

 4          76.       The agreed-to price for the solar energy system was $89,246.82.
 5          77.       The home is partially constructed and is awaiting installation of the roof.
 6          78.       Plaintiff Patel is incurring financing and carrying costs for the construction of the
 7   home, which increase with any delays in construction.
 8          79.       On or about April 10, 2021, Tesla emailed Plaintiff to advise that it was increasing his
 9   pricing. Even after including a “free” powerwall, Tesla now demands $119,316.65 which is a more
10   than 33% increase.
11          80.       Plaintiff has a partially constructed home. The construction schedule and financing
12   were determined based upon the pricing and schedule that had been agreed to with Tesla prior to
13   April 10, 2021.
14          81.       Plaintiff has suffered economic harm as a result of Tesla’s conduct and will continue
15   to incur harm.
16          Plaintiff Anupama Vivek

17          82.       Plaintiff has been making efforts since 2018 to have a Tesla solar roof energy system
18   installed in her home in Roslyn Heights, New York.
19          83.       Plaintiff Vivek initially signed a contract with Tesla on March 21, 2018, but the town
20   would not authorize permits at that time because the home is in a historic district. Tesla inspected
21   Plaintiff’s home at that time.
22          84.       The town subsequently advised Plaintiff that it may allow solar roof tiles to be
23   installed on the home.
24          85.       On April 20, 2020, plaintiff paid a $1,000 deposit and signed a contract with Tesla for
25   the purchase and installation of a solar roof system for the home. This included one powerwall.
26   Tesla again inspected Plaintiff’s home at that time.
27          86.       After signing the contract in April 2020, Plaintiff has been waiting for Tesla to

28   perform.
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 1            87.     On February 24, 2021, Plaintiff did a change order simply to add another powerwall
 2   because she had decided to buy a Tesla vehicle. At that time, Tesla inspected the home for a third
 3   time.

 4            88.     On March 28, 2021, Tesla sent a new contract to add $4,214 in roof preparation and
 5   pre-construction costs. Plaintiff accepted that change and signed the revised contract with the total
 6   agreed-to price of $58,805.48.
 7            89.     On April 16, 2021, Tesla sent Plaintiff an email stating there was action required on
 8   her part. Upon checking her Tesla account, she saw that while the system was the same as she had
 9   previously agreed to, Tesla had increased the contract price to $77,333.03, even accounting for a
10   “free” powerwall, which accounted for a more than 30% increase.
11            90.     Plaintiff refinanced her mortgage and increased the loan amount in December 2020
12   in order to pay for the Solar Roof project. She has and is incurring charges in connection with the
13   loan.
14            91.     Plaintiff has suffered economic harm as a result of Tesla’s conduct and will continue
15   to incur harm.
16            Plaintiff Jerin Zachariah

17            92.     After working with Tesla since September 2020 with respect to the design and
18   purchase of a Solar Roof, Plaintiff executed a contract on March 9, 2021 for a Tesla Solar Roof.
19   After months of pre-contractual discussions, the agreed-upon price was $42,998.20.
20            93.     Plaintiff is having a house constructed in Pleasantville, NY and needs to have a roof
21   installed. He provided Tesla with all drawings and specifications and coordinated with Tesla and his
22   builder for the Tesla Solar Roof to be used in lieu of other roofing options.
23            94.     Construction of the house is underway. The construction schedule for Plaintiff’s house
24   depends upon Tesla delivering and installing the Solar Roof without delay, and his construction
25   financing with his bank depends upon Tesla providing the Solar Roof for the price agreed upon.
26            95.     On or about April 10, 2021, Tesla advised that it was increasing the price of Plaintiff’s
27   Solar Roof from $42,998 to $60,253 (and including a “free” powerwall, which he did not order).

28   This is an approximate 40% increase in price.
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 1          96.      Tesla is sending frequent emails/texts to Plaintiff to accept the new contract terms
 2   unilaterally imposed by Tesla.
 3          97.      Plaintiff is left with the choice of delaying construction (either while trying to

 4   convince Tesla to reconsider its price increase or while trying to find an alternative roof at this late
 5   stage of the construction process) or agreeing to Tesla’s price increase under duress and trying to
 6   arrange alternative means of financing for it.
 7          98.      Plaintiff has suffered economic harm as a result of Tesla’s conduct and will continue
 8   to incur harm
 9          Plaintiff Peter Burns
10          99.      Plaintiff has been working with Tesla since 2019 to have a solar roof system installed
11   in his home in Doylestown, PA. His order was confirmed on November 3, 2019.
12          100.     Plaintiff executed a contract with Tesla on April 14, 2020 for the purchase and
13   installation of a solar roof system. The system was sized to be 12.92 kw output.
14          101.     In anticipation of the Tesla solar roof system, in July 2020, Plaintiff upgraded the
15   electric in the home from 150 amps to 200 amps, paying $2100 for such work. Before executing his
16   contract, in preparation for a solar installation, Plaintiff incurred significant expense clearing trees

17   from his property.
18          102.     On August 11, 2020, Plaintiff received an email from Tesla stating, “Current time
19   frames for installation in your area would be about 4-6 months.”
20          103.     In anticipation of the installation, Plaintiff began selling stock in mid-2020 to have
21   sufficient cash available to pay for the project.
22          104.     After a site inspection by Tesla and certain revisions, the agreed-upon price in the
23   revised contract executed by Plaintiff on March 17, 2021 was $64,519.05. The system at that time
24   was designed to be 10.52 kw output.
25          105.     On March 29, 2021, Tesla sent Plaintiff an email confirming his Solar Roof
26   installation for May 4, 2021.
27

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 1          106.      On or about April 10, 2021, Tesla advised that it was increasing the price for the
 2   system already agreed to. Tesla now demands a total of $89,913.58 for the project, which includes
 3   a “free” powerwall and an additional charge of approximately $6,000 for roof decking and repairs.

 4          107.      The new contract price includes an increase in the price of the Solar Roof alone from
 5   $42,637 to $67,790, which is an approximately 60% increase.
 6          108.      Plaintiff has suffered economic harm as a result of Tesla’s conduct and will continue
 7   to incur harm.
 8                                         CLASS ALLEGATIONS
 9          109.      Plaintiffs bring this action, pursuant to Federal Rules of Civil Procedure 23(a) and
10   23(b)(2) and/or (b)(3), on behalf of the following nationwide Class for the maximum time period
11   allowable by law:
12                    All persons with whom Tesla entered into a contract for the purchase
13                    and/or installation of a Solar Roof and/or Powerwall energy storage
                      system in the United States and whom Tesla has notified, on or after
14                    April 1, 2021, must pay an increased price as a condition for
                      performance.
15
16          110.      Plaintiffs reserve the right to revise the definition of the Class based upon
17   subsequently discovered information and reserve the right to establish sub-classes where appropriate.
18          111.      The Class excludes Defendants and any entity in which Defendants have a controlling
19   interest, as well as their officers, directors, legal representatives, successors, and assigns. The Class
20   also excludes government entities and judicial officers that have any role in adjudicating this matter.
21          112.      The Class is so numerous that joinder of all members is impracticable. Plaintiffs
22   believe that there are in excess of 100 Class members in the nation.
23          113.      A class action is superior to all other available methods for the fair and efficient
24   adjudication of this controversy.
25          114.      Plaintiffs know of no difficulty to be encountered in the management of this litigation
26   that would preclude its maintenance as a class action.
27

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 1           115.    Plaintiffs’ claims are typical of the claims of the Class that Plaintiffs seek to represent.
 2   As alleged herein, Plaintiffs and Class members sustained harm arising out of the same actions and
 3   conduct of Defendants.

 4           116.    Common questions of law and fact exist to all members of the Class and predominate
 5   over any issues solely affecting individual members of the Class. The common and predominating
 6   questions of law and fact include, but are not limited to:
 7
                     •       Whether Defendants’ actions are unfair, unlawful or further violative of the
 8                           UCL;

 9                   •       Whether Defendant made material misrepresentations prohibited by the
                             UCL;
10
11                   •       Whether Defendant violated the CLRA; and

12                   •       Whether injunctive relief, restitution or other relief is warranted.
13
14           117.    Plaintiffs are willing and prepared to serve the Class in a representative capacity and

15   fulfill all such obligations duties.

16           118.    Plaintiffs will fairly and adequately represent and protect the interests of the Class and

17   have no interests adverse to or in conflict with the interests of any of the other members of the Class.

18           119.    Plaintiffs will vigorously prosecute this action. Plaintiffs have engaged the services of

19   the undersigned counsel. Counsel are experienced in complex litigation, will adequately prosecute

20   this action, and will assert and protect the rights of, and otherwise represent, Plaintiffs and absent

21   members of the Class.

22           120.    Class action status is warranted under Rule 23(b)(3) because questions of law or fact

23   common to the members of the Class predominate over any questions affecting only individual

24   members, and a class action is superior to other available methods for the fair and efficient

25   adjudication of this controversy.

26           121.    The Class may also be certified under Rule 23(b)(2) because Defendants have acted

27   on grounds generally applicable to the Class, thereby making it appropriate to award final injunctive

28   relief or corresponding declaratory relief with respect to the Class.

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 1           122.    The interest of members within the Class in individually controlling the prosecution
 2   of separate actions is theoretical and not practical. The Class has a high degree of similarity and
 3   cohesiveness, and Plaintiffs anticipate no difficulty in the management of this matter as a class action.

 4           123.    The nature of notice to the Class, upon certification of the Class, is by best notice
 5   practicable under the circumstances including, amongst other things, direct mail, email, and/or
 6   publication via the internet.
 7                                             COUNT I
                         PUBLIC INJUNCTIVE RELIEF FOR VIOLATIONS OF
 8
                          CALIFORNIA BUSINESS & PROFESSIONS CODE
 9                                 (California Code § 17200, et seq.)

10
             124.    Plaintiffs incorporate by reference all prior allegations of this complaint as if fully set
11
     forth herein.
12
             125.    Plaintiffs bring this count on behalf of themselves, the Class and/or the general public
13
     both in the State of California and throughout the country/or for the primary benefit of the general
14
     public, and their benefit only incidentally as members of the general public, to enjoin conduct
15
     injurious to the general public.
16
             126.    California Business & Professions Code § 17200 prohibits acts of “unfair
17
     competition,” including any “unlawful, unfair or fraudulent business act or practice” and “unfair,
18
     deceptive, untrue or misleading advertising.”
19
             127.    By its conduct, Tesla has and is continuing to engage in unfair competition and
20
     unlawful, unfair, and/or deceptive business practices, including the violation of consumer protection
21
     statutes.
22
             128.    Defendant’s unfair or deceptive acts or practices occurred and continue to occur
23
     repeatedly in Defendants’ trade or business and were and are capable of deceiving a substantial
24
     portion of the purchasing public.
25
             129.    As has become apparent from Tesla’s conduct, when dealing with Plaintiffs and the
26
     public and entering into contracts, Tesla made material misrepresentations about its ability and
27

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 1   willingness to provide Solar Roof systems as promised, including in the timeframes represented and
 2   for the price promised.
 3          130.     Tesla has and is continuing to make misrepresentations to Plaintiffs, the Class and the

 4   general public about the need to disavow existing contracts, enter into new contracts and Tesla’s
 5   purported justification for demanding price increases.
 6          131.     As a direct and proximate result of Defendant’s unfair and deceptive practices,
 7   Plaintiffs and the other Class members have suffered and will continue to suffer economic harm.
 8          132.     Defendant should be enjoined from continuing its unlawful and unjust business
 9   practices, coercing the Plaintiffs and the Class into executing new contracts, from disavowing its
10   obligations, and from demanding additional sums as a condition of performance.
11          133.     Defendant also should be required to make restitution to Plaintiffs and the other Class
12   members pursuant to §§ 17203 and 17204 of the Business & Professions Code.
13          134.     Defendant should be required to pay Plaintiffs’ legal fees and expenses pursuant to
14   Cal. Civ. Proc. Code § 1021.5 for enforcing this important public right.
15                                           COUNT II
                         PUBLIC INJUCTIVE RELIEF FOR VIOLATIONS OF
16
                        CALIFORNIA’S CONSUMER LEGAL REMEDIES ACT
17                              (California Civil Code § 1750, et seq.)

18
            135.     Plaintiffs incorporate by reference all prior allegations of this complaint as if fully set
19
     forth herein.
20
            136.     Plaintiffs bring this Count on behalf of themselves, the Class and/or the general public
21
     both in the State of California and throughout the country/or for the primary benefit of the general
22
     public, and their benefit only incidentally as members of the general public, to enjoin conduct
23
     injurious to the general public.
24
            137.     The California Consumer Legal Remedies Act (“CLRA”) enumerates prohibited
25
     “unfair or deceptive” practices in a “transaction” relating to the sale of “goods” or “services” to a
26
     “consumer.”
27

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 1          138.    The CLRA is to be “liberally [c]onstrued and applied to promote its underlying
 2   purposes, which are to protect consumers against unfair and deceptive business practices and to
 3   provide efficient and economical procedures to secure such protection.”

 4          139.    Tesla’s Solar Roof is a “good” under Cal. Civ. Code § 1761(a) and Tesla’s design,
 5   project review, and installation services constitute “services” under Cal. Civ. Code § 1761(b).
 6          140.    Plaintiffs are “consumer[s]” under Cal. Civ. Code § 1761(d) and have suffered
 7   damage as a result of the use or employment by Tesla of the methods, acts, or practices set forth
 8   herein which are unlawful under Cal. Civ. Code § 1770(a).
 9          141.    In order to protect and enforce important public rights and restrain conduct injurious
10   to the general public, Plaintiffs, on behalf of the general public, request that the Court enter a
11   permanent injunction prohibiting Tesla, its agents, servants, employees, and all persons acting in
12   concert with it, from engaging in the following conduct with respect to the sale of the Solar Roof:
13              a) Misrepresenting the authority of a salesperson, representative or agent to negotiate the
14                  final terms of a transaction with a consumer, in violation of, inter alia, Cal. Civ. Code
15                  § 1770(a)(18);
16              b) Using deceptive representations in violation of, inter alia, Cal. Civ. Code §

17                  1770(a)(18);
18              c) Representing that a transaction involves or confers rights, remedies or obligations
19                  which it does not have or involve, in violation of, inter alia, Cal. Civ. Code §
20                  1770(a)(14);
21              d) Representing that Defendant’s design and project review services have the use or
22                  benefit of ascertaining appropriate pricing and detecting any additional costs
23                  associated with the purchase of a Solar Roof at an initial stage, when they do not, in
24                  violation of, inter alia, Cal. Civ. Code § 1770(a)(5);
25              e) Advertising to the general public that the Solar Roof system will cost a certain amount
26                  while intending to charge consumers more than that advertised amount, in violation
27                  of, inter alia, Cal. Civ. Code § 1770(a)(9);

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 1              f) Advertising to the general public that the Solar Roof system can be delivered and
 2                  installed in certain timeframe, while knowing that it cannot, in violation of, inter alia,
 3                  Cal. Civ. Code § 1770(a)(9);

 4              g) Representing that the Solar Roofs have an unforeseen “complexity” justifying
 5                  increased charges, when in fact, they do not, in violation of, inter alia, Cal. Civ. Code
 6                  § 1770(a)(5);
 7              h) Representing that additional, unforeseen repair services are needed in order to install
 8                  the Solar Roof, when they are not, in violation of Cal. Civ. Code § 1770(a)(15);
 9              i) Representing that Defendant will only change the contract price if unforeseen repairs
10                  or additional installation-related work is needed, in violation of Cal. Civ. Code §
11                  1770(a)( 7) & (16); and/or
12              j) Offering to enter into contractual relationships with the general public governed by
13                  unconscionable contract clauses, in violation of Cal. Civ. Code § 1770(a)(19).
14          142.    Tesla knows, knew, or should have known, that its representations and advertisements
15   about the nature and quality of its services and the total cost of its Solar Roof systems contracts are
16   and were false or misleading.

17          143.    As a result of Defendant’s unlawful conduct, Plaintiffs have suffered economic harm
18   as stated herein and Plaintiffs and the public are being subjected to further and continuing harm.
19          144.    Plaintiffs seek injunctive relief under this count.
20          145.    Plaintiffs also seek an award of attorneys’ fees pursuant to the private attorney general
21   doctrine, codified at Cal. Civ. Proc. Code § 1021.5, for enforcing important rights “affecting the
22   public interest.”
23                                         PRAYER FOR RELIEF
24          WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated,
25   respectfully request that this Court enter judgment against Defendant and in favor of Plaintiffs and
26   the Class, and award the following relief:
27

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 1          A. An order certifying this action as a class action pursuant to Rule 23 of the Federal Rules
 2   of Civil Procedure, declaring Plaintiffs as representatives of the Classes and Plaintiffs’ counsel as
 3   counsel for the Class;

 4          B. An order enjoining Defendants from continuing the conduct and practices alleged above;
 5          C. An order awarding restitution and/or disgorgement;
 6          D. Equitable relief as appropriate;
 7          F. An award of costs, expenses, and attorneys’ fees as permitted by law; and,
 8          G. Such other or further relief as the Court may deem appropriate, just, and equitable.
 9                                      JURY TRIAL DEMANDED
10          Plaintiffs demand a trial by jury of any and all issues in this action so triable
11
12   Dated: May 17, 2021                                   Respectfully submitted,

13                                                         AHDOOT & WOLFSON, PC

14                                                     By: /s/ Tina Wolfson
                                                           Tina Wolfson (SBN 174806)
15                                                         Robert Ahdoot (SBN 172098)
                                                           AHDOOT & WOLFSON, PC
16                                                         2600 West Olive Avenue, Suite 500
                                                           Burbank, CA 91505
17                                                         Telephone: (310) 474-9111
                                                           Facsimile: (310) 474-8585
18                                                         twolfson@ahdootwolfson.com
                                                           rahdoot@ahdootwolfson.com
19
20                                                         Andrew W. Ferich (pro hac vice to be filed)
                                                           AHDOOT & WOLFSON, PC
21                                                         201 King of Prussia Rd., Suite 650
                                                           Radnor, PA 19087
22                                                         Telephone: (310) 474-9111
                                                           aferich@ahdootwolfson.com
23
                                                           Peter A. Muhic (pro hac vice to be filed)
24                                                         LeVAN MUHIC STAPLETON LLC
                                                           One Liberty Place
25                                                         1650 Market Street, Suite 3600
                                                           Philadelphia, PA 19103
26                                                         Telephone: (215) 561-1500
                                                           Facsimile: (914) 273-2563
27                                                         pmuhic@levanmuhic.com
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 1                                        Edwin J. Kilpela, Jr (pro hac vice to be filed)
                                          CARLSON LYNCH LLP
 2                                        1133 Penn Avenue, 5th Floor
 3                                        Pittsburgh, PA 15222
                                          Telephone: (412) 322-9243
 4                                        Facsimile: (412) 231-0246
                                          ekilpela@carlsonlynch.com
 5
                                          Katrina Carroll (pro hac vice to be filed)
 6                                        CARLSON LYNCH LLP
 7                                        111 W. Washington Street Ste. 1240
                                          Chicago, IL 60602
 8                                        Telephone: 312.750.1265
                                          kcarroll@carlsonlynch.com
 9
                                          Jonathan M. Jagher (pro hac vice to be filed)
10
                                          Kimberly A. Justice (pro hac vice to be filed)
11                                        D. Patrick Huyett (pro hac vice to be filed)
                                          FREED KANNER LONDON &
12                                         MILLEN, LLC
                                          923 Fayette Street
13                                        Conshohocken, PA 19428
                                          Telephone: (610) 234-6487
14
                                          Facsimile: (224) 632-4521
15                                        jjagher@fklmlaw.com
                                          kjustice@fklmlaw.com
16                                        phuyett@fklmlaw.com
17                                        Counsel for Plaintiffs and the Class
18
19
20
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